                                  UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TENNESSEE
                                          Western Division

Wendy R. Oliver, Clerk                                                                         Deputy-in-Charge
242 Federal Building                                                                  U.S. Courthouse, Room 262
167 N. Main Street                                                                    111 South Highland Avenue
Memphis, Tennessee 38103                                                               Jackson, Tennessee 38301
(901) 495-1200                                                                                    (731) 421-9200



                                     NOTICE OF RE-SETTING
                     Before Judge Samuel H. Mays, Jr., United States District Judge


                                            September 29, 2023

              RE:    3:23-cv-00636
                     Christy Anna Allen v. The Metropolitan Government of Nashville and Davidson
                     County, Tennessee, et al.

      Dear Sir/Madam:

            A TELEPHONIC SCHEDULING CONFERENCE has been RESET before Judge
      Samuel H. Mays, Jr. on WEDNESDAY, DECEMBER 6, 2023 at 2:00 P.M. CST.

             Counsel participating in the telephone conference should call in to the following
      conference line:

              Dial-in Number:       1-877-848-7030
              Access Code:          5600724#
              Participant Password: 0636#

             The parties are to consult and submit a report and a proposed Scheduling Order not later
      than November 22, 2023.

              PLEASE REVIEW THE ATTACHED INSTRUCTIONS.

              If you have any questions, please contact me at the number provided below or contact
      Mr. Jairo Mendez, the Court’s case manager, at 901-495-1217 or
      Jairo_Mendez@tnwd.uscourts.gov.

                                                   Sincerely,


                                                   s/ Daphne E. Rankin
                                                   Daphne E. Rankin, Chambers Paralegal
                                                   901-495-1283
                                                   E-mail: Daphne_Rankin@tnwd.uscourts.gov


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Attachment
                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                               Office of the Clerk
______________________________________________________________________________

                            INSTRUCTIONS CONCERNING
                         RULE 16(b) SCHEDULING CONFERENCE

______________________________________________________________________________

 I. DUTY TO NOTIFY

       Since this scheduling conference may be set before the defendant[s] has been served or has
appeared in the case, counsel for the plaintiff is responsible for notification of defendant[s] or
defendant[s]’ counsel of the setting of the first Rule 16(b) Conference. If plaintiff’s counsel is
unable to notify the defendant[s] or defendant[s]’ counsel, then plaintiff’s counsel shall, at least
two (2) working days prior to the scheduled Rule 16(b) Conference, so notify the Court.


II. DUTY TO CONFER

        Prior to the scheduling conference, counsel are required to consult regarding schedules
for completion of discovery, filing of motions, trial and pretrial activities and other matters
addressed in these instructions. A Joint Proposed Scheduling Order, in Word format, shall be
submitted to the Court’s e-mail box no later than one (1) business day prior to the
conference. E-mail address: ECF_Judge_Mays@tnwd.uscourts.gov. Submission and approval
of the Proposed Scheduling Order WILL NOT cancel the conference.


III. ATTENDANCE REQUIRED

        The attendance of all unrepresented parties and lead trial counsel for each represented party
is required at the scheduling conference; the unrepresented parties and counsel must be prepared
to address any pending motions or motions which may be raised orally at the conference. Failure
to appear may result in the imposition of sanctions. (See ¶ VII.)

       Out-of-town counsel may request permission from the Court to handle the conference
by telephone, provided the request is made at least THREE (3) days prior to the date of the
hearing. The request must be made in writing to the Case Manager (e-mail is preferable)
and must include names and telephone numbers of all participants requesting to appear by
telephone. The conference call for the scheduling conference will be initiated by the judge’s
chambers.




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V.         INITIAL DISCLOSURE

        Fed.R.Civ.P. Rule 26(a)(1) & (2) and Rule 26(f) will be enforced. Therefore, in accordance
with Fed.R.Civ.P. 26(f), the parties shall, at least 14 days prior to the Rule 16(b) scheduling
conference, meet for discussions in accordance with Rule 26(f) and for the purpose of preparing a
proposed discovery plan. The parties shall file a written report outlining the proposed discovery
plan at least 4 days prior to the first conference. Counsel should refer to Form 52, Appendix of
Forms to Fed.R.Civ.P., for a checklist of items to be discussed at the Rule 26(f) meeting and
included in the written report. Moreover, within 10 days of the 26(f) meeting (i.e. at least 4 days
prior to the scheduling conference), the parties 1 shall make disclosure pursuant to Rule 26(a)(1)
without formal discovery requests. Counsel are further advised that, absent any agreement of the
parties, no formal discovery demand may issue pending the meeting under Rule 26(f). Unless the
parties stipulate otherwise, the number of interrogatories will be limited to 25 in accordance with
Fed.R.Civ.P. 33, and the number of depositions will be limited to ten in accordance with
Fed.R.Civ.P. 30.

    V. REQUEST FOR EXEMPTION FROM RULE 26

        Counsel or parties wishing to request that they not be required to comply with provisions
of Rule 26(a) or (f) of the Federal Rules of Civil Procedure, must adhere to the following procedure
in making the request. Requests are to be made by motion in writing in compliance with local
rules of this court. Requests for exemption from the disclosure provisions of Rule 26(a) must be
made at least ten days before the date disclosure is required by the rule. Requests for exemption
from the Rule 26(f) meeting requirements must be made at least seven days before the date
scheduled for the meeting or, if the parties have scheduled no meeting, at least twenty-one days
before the date of the scheduling conference.

    VI. SUBJECTS AT CONFERENCE

           Generally, at the scheduling conference, the following subjects will be addressed:

1.         The status of the case, the general nature of the claims and defenses, issues in the case, and
           potential use of experts;




1
    Except for parties in pro se prisoner litigation.




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2.       Jurisdictional and statute of limitations issues (all jurisdictional questions or timeliness
         questions should be reviewed in advance of the scheduling conference and, if motions have
         not already been filed, the Court should be advised at the scheduling conference that there
         are preliminary matters which require early disposition); 2

3.       Setting of all deadlines for filing preliminary motions, the establishment of all deadlines
         for discovery (including disclosure of expert witness information where appropriate), the
         establishment of final deadlines for filing pretrial motions (including all motions for
         summary judgment), joining parties, amending pleadings, the establishment of pretrial
         conference and trial dates, and the establishment of any other appropriate deadlines. The
         court expects to set a definite trial date for this case which does not conflict with criminal
         case settings. The trial date will be consistent with the particular needs of this case and
         will be no later than eighteen months from the date of filing, unless the court certifies that
         the court’s calendar does not so permit or the complexity of the case requires a later setting.

4.       The desire of the parties to consent to all further proceedings in the case being handled by
         the magistrate judge in accordance with 28 U.S.C. § 636(c) (including entry of final
         judgment, with any appeal directly to the Sixth Circuit Court of Appeals);

5.       The possibility of settlement, your position regarding settlement, and the desire of the
         parties to utilize alternative dispute resolution, including the private mediation program
         plan, or whether the parties request a referral to the magistrate judge for a settlement
         conference;

6.       Status of all document discovery(parties are encouraged to promptly exchange core
         document information and, where necessary, to promptly issue requests for production of
         documents and subpoenas duces tecum to third parties);

7.       Any anticipated discovery problems (i.e., the necessity of protective orders, the necessity
         of inspection of facilities, witness unavailability, delays which may be occasioned because
         of an individual’s physical or mental condition, etc.);


8.       Estimated trial time, and any special issues anticipated in connection with trial; and

9.       Any pending motions or motions which may be raised orally at the conference.




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 Similarly, questions of class certification, qualified immunity, or conflict of interest should be
raised at the first possible occasion and no later than the initial Rule 16(b) scheduling conference.




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VII. ORDER TO BE ENTERED

       An order will be entered reflecting the results of the scheduling conference. The order will
include deadlines for filing motions and completing discovery, and the establishment of pretrial
conference and trial dates. Attached as Exhibit “A” to this notice is a Form Rule 16(b)
Scheduling Order which counsel may use as a proposed order after developing appropriate
agreed-upon deadlines.



VIII. SANCTIONS FOR FAILURE TO APPEAR

        Failure to appear at the scheduling conference, or to comply with the directions of the Court
set forth herein, may result in an ex parte hearing being held and the entry of such order as is just,
including a judgment of dismissal with prejudice or entry of a default judgment, or other
appropriate sanctions, such as attorney’s fees and expenses of opposing counsel, without further
notice to the party who fails to appear.




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                                        EXHIBIT “A”


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE




_________________________________________
                        Plaintiff,

v.

                                                                 Cv. No.


_________________________________________
                        Defendant.

_____________________________________________________________________________

                      RULE 16(b) SCHEDULING ORDER
_____________________________________________________________________________

         Pursuant to written notice, a scheduling conference was held on ___________________,

20____. Participating on behalf of the plaintiff(s) was/were ____________________________.

Participating on behalf of the defendant(s) was/were __________________________________.

The following schedules and deadlines were established:


JOINING PARTIES:             ____________ for Plaintiff
                             ____________ for Defendant

AMENDING PLEADINGS: ____________ for Plaintiff
                    ____________ for Defendant

COMPLETING ALL DISCOVERY:
         (a)   EXPERT DISCLOSURE (Rule 26):
               ____________ (i) Plaintiff's Rule 26 Expert:
                           (ii) Defendant's Rule 26 Expert:



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                                      (iii) Supplementation under Rule 26(e):
               (b)     DOCUMENT PRODUCTION, INTERROGATORIES and REQUESTS
                       for ADMISSIONS:
               (c)     MOTIONS TO COMPEL DISCOVERY: to be filed and served within
                       forty-five days of the default or the service of the response, answer or
                       objection, which is the subject of the motion, unless the time for filing of
                       such motion is extended for good cause shown, or the objection to the
                       default, response, answer or objection shall be waived.

FILING DISPOSITIVE MOTIONS:

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

                       __________(a) for Plaintiff:
                             ____(b) for Defendant:

       Parties shall have          days after service of final lists of witnesses and exhibits to list

objections under Rule 26(a)(3).

       This trial is expected to last       days and will be SET for JURY/NON-JURY TRIAL

on                                                        .

       A pretrial conference will be conducted (lead counsel must be present) on

____________                                   , at ________ _____.m.

       A joint pretrial order, jury instructions and motions in limine are due on

______________________________                       .

       Absent good cause shown, the scheduling dates set by this order will not be modified or

extended.

       SO ORDERED this _______ day of ___________________, 20_____.


                                                         ___________________________________
                                                         SAMUEL H. MAYS, JR.
                                                         UNITED STATES DISTRICT JUDGE




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